Case 1:21-cv-00001-JPJ-PMS Document 66 Filed 05/23/22 Page 1 of 2 Pageid#: 2100
  AO 435       Case 1:21-cv-00001-JPJ-PMS Document 66 Filed 05/23/22 Page 2 of 2 Pageid#: 2101
(Rev. 04/18)                                 INSTRUCTIONS


                                                            GENERAL

Use. Use this form to order the transcription of proceedings. Complete a separate order form for each case number for which
transcripts are ordered.

Completion. Complete Items 1-19. Do not complete shaded areas which are reserved for the court’s use.

Order Copy. Keep a copy for your records.

Submitting to the Court. Submit the form in the format required by the court.

Deposit Fee. The court will notify you of the amount of the required deposit fee which may be mailed or delivered to the court.
Upon receipt of the deposit, the court will process the order.

Delivery Time. Delivery time is computed from the date of receipt of the deposit fee or for transcripts ordered by the federal
government from the date of receipt of the signed order form.

Completion of Order. The court will notify you when the transcript is completed.

Balance Due. If the deposit fee was insufficient to cover all charges, the court will notify you of the balance due which must be
paid prior to receiving the completed order.

                                                            SPECIFIC

Items 1-19.     These items should always be completed.
Item 8.         Only one case number may be listed per order.
Item 15.        Place an “X” in each box that applies.
Item 16.        Place an “X” in the box for each portion requested. List specific date(s) of the proceedings for which transcript is
                requested. Be sure that the description is clearly written to facilitate processing. Orders may be placed for as few
                pages of transcript as are needed.
Item 17.        Categories. There are six (6) categories of transcripts which may be ordered. These are:
                         Ordinary. A transcript to be delivered within thirty (30) calendar days after receipt of an order. (Order
                         is considered received upon receipt of the deposit.)
                         14-Day. A transcript to be delivered within fourteen (14) calendar days after receipt of an order.
                         Expedited. A transcript to be delivered within seven (7) calendar days after receipt of an order.
                         3-Day. A transcript to be delivered within three (3) calendar days after receipt of an order.
                         Daily. A transcript to be delivered following adjournment and prior to the normal opening hour of the
                         court on the following morning whether or not it actually is a court day.
                         Hourly. A transcript of proceedings ordered under unusual circumstances to be delivered within two (2)
                         hours.
                         Realtime. A draft unedited transcript produced by a certified realtime reporter as a byproduct of realtime
                         to be delivered electronically during proceedings or immediately following adjournment.

NOTE: Full price may be charged only if the transcript is delivered within the required time frame. For example, if an order for
expedited transcript is not completed and delivered within seven (7) calendar days, payment would be at the 14-day delivery rate,
and if not completed and delivered within 14 calendar days, payment would be at the ordinary delivery rate.

                Ordering. Place an “X” in each box that applies. Indicate the number of additional copies ordered.
                       Original. Original typing of the transcript. An original must be ordered and prepared prior to the
                       availability of copies. The original fee is charged only once. The fee for the original includes the copy
                       for the records of the court.
                       First Copy. First copy of the transcript after the original has been prepared. All parties ordering copies
                       must pay this rate for the first copy ordered.
                       Additional Copies. All other copies of the transcript ordered by the same party.
Item 18.               Sign in this space to certify that you will pay all charges. (This includes the deposit plus any additional
                       charges.)
Item 19.               Enter the date of signing.

Shaded Area. Reserved for the court’s use.
